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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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10                                          1:05-CV-01187 OWW LJO
     THOMAS N. SMITH,
11                                          ORDER GRANTING DEFENDANTS’
                          Plaintiff,        UNOPPOSED MOTION TO DISMISS
12                                          THE THIRD CAUSE OF ACTION
                    v.                      FOR FRAUD.
13   DARRIN SIMMONS dba CLEAN AIR
14   PRODUCTS, INC.,

15                        Defendants.

16
17        This is a diversity action for breach of contract and fraud

18   brought by Thomas N. Smith (“Plaintiff”), a resident of New

19   Zealand, against Darrin Simmons and Clean Air Products

20   (“Defendants”).     (Doc. 19, Second Amended Complaint.)     Plaintiff

21   is the sole owner of Land O’Goshen Inc., which allegedly entered

22   into a series of written agreements with Defendants pursuant to

23   which Defendants were to acquire various business property and

24   services previously owned by “Help Smog Parts.”       (Id.) Among

25   other things, Plaintiff alleges that Defendant Simmons committed

26   fraud by making the following representations to Plaintiff:

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 1             That he would purchase the [various] properties from
               Plaintiff Land O’Goshen for the agreed upon price of
 2             $430,000 less a $70,000 down payment. Defendant signed
               the agreement (Exhibit 1) representing that the
 3             payments for the remaining $360,000 owed to Plaintiff
               would be paid as follows:
 4
               (a)   $60,000 at the rate of $5,000 per month beginning
 5                   January 1, 1999 and ending December 31, 1999 with
                     no interest.
 6
               (b)   $60,000 shall be paid in lump sum on January 1,
 7                   2000 for that calendar year with no interest
 8             (c)   The remaining balance of $240,000 shall be due and
                     payable on January 1, 2001, or shall continue with
 9                   mutual consent, including 10% interest.
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          Plaintiff alleges that these representations were “false”
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     and that Defendants “were not in a position to be able to make
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     all of the payments and...had no intention of making the agreed
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     payments.”   (Id. at ¶21.)
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          Defendant Simmons moves to dismiss for failure to comply
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     with the heightened pleading requirements of Federal Rule of
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     Civil Procedure 9b.   (Doc. 20, filed July 25, 2006).      Plaintiff
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     does not oppose the motion, but requests that it be granted with
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     leave to amend at a future date, should discovery reveal
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     information that would support a fraud allegation.       (Doc. 22,
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     filed August 28, 2006.)
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          Rule 9(b) requires that when pleading “special matters,”
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     such as fraud, the “circumstances constituting fraud...shall be
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     stated with particularity.”    Fed. R. Civ. P. 9(b). Rule 9(b)
24
     require’s that the complaint “state the time, place and content
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     of a misrepresentation and explain why the statement is false or
26
     misleading.”    Vess v. Ciba-Geigy Corp., USA, 317 F.3d 1097, 1107,
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     (9th Cir. 2003)(citing In re. GlenFed, Inc. Secur. Litig., 42
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 1   F.3d 1541, 1547 (9th Cir. 1994)).      Here, Plaintiff has simply
 2   suggested that Defendant’s purported failure to perform under a
 3   written contract is evidence of some fraudulent intent.        More is
 4   required to satisfy Rule 9(b).
 5        Accordingly, Defendants’ motion to dismiss the third cause
 6   of action is GRANTED WITHOUT PREJUDICE.
 7
 8   SO ORDERED
 9   Dated: 9/14/06                         /s/ Oliver W. Wanger
10                                         OLIVER W. WANGER
                                      United States District Judge
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